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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF CONNECTICUT

------------------------------------------------------:x

UNITED STATES OF AMERICA                                   Docket No. 3:14MJ00154(HBF)

v.

RAUL CABAN MARTES                                          October 28, 2014

------------------------------------------------------:x

                                  WAIVER OF SPEEDY TRIAL RIGHTS

         The defendant, Raul Caban Martes, hereby waives those rights accorded him by the Speedy Trial

Act of 1974, 18 U.S.C. § 316l(b) requiring the filing of an indictment or information within 30 days

of his arrest, and by Federal Rule of Criminal Procedure 5.l(c) requiring a preliminary hearing within

14 days of his initial appearance. In support of this Waiver, the defendant states as follows:

         He is represented by and has consulted with his attorney concerning this waiver;

         He understands that by signing this document he will be giving up certain of those rights

accorded him by the Speedy Trial Act; and

         He requests that the Court find that the requested continuance is in the best interest of the

defendant, that it outweighs the public interest in a speedy trial, and that the period of delay through and

including December 31, 2014, should be e:xcluded.




Raul Caban Martes
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                                                       Respectfully submitted,

                                                       The Defendant,
                                                       Raul Caban Martes

                                                        Office of the Federal Defender



Dated: October 28, 2014
                                                        arah . L. Merriam
                                                          is nt Federal Defender
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                                                       New Haven, CT 06510
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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 28, 2014, a copy of the foregoing Waiver was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent to all parties by operation of the Court's electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court's CM/ECF System.
